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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF LOUISIANA
                                                                               FELONY
                     SUPERSEDING BILL OF INFORMATION FOR
                   CONSPIRACY TO COMMIT WITNESS TAMPERING

 UNITED STATES OF AMERICA                        *    CRIMINAL NO.24-105

                   v                             )k
                                                      SECTION: "D"(1)

 JOVANNA R. GARDNER                              ,<
                                                      VIOLATIONS: 18 U.S.C. $ lsl2(bx3)
                                                                      18 U.S.C. $ 1s12(k)
                                                 *
                                         +       >k        d<




        The Attorney for the United States charges that:

                                             COUNT I

A.      AT ALL TIMES MATERIAL HEREIN:

        1.     Defendant JOVANNA R. GARDNER resided in the New Orleans metropolitan

area.

        2.     Cornelius Gariison, a.4<./a "Poorie," alWa "Slim," was also a resident of the New

Orleans metropolitan area. In or around October 2019, Garrison began covertly cooperating with

the federal government concerning staged automobile collisions.

        3.      On or about September 18,2020, Garrison was charged in an indictment in the

Eastem District of Louisiana with conspiracy to commit mail fraud and other offenses related to

the staged collisions.
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B.        CONSPIRACY TO COMMIT WITNESS TAMPERING:

          Beginning at a time unknown, and continuing until at least September 22,2020, in the

Eastem District of Louisiana and elsewhere, the defendant, JOVANNA R. GARDNER, and

others known and unknown to the Attomey for the United States, did knowingly and intentionally

combine, conspire, confederate, and agree to comrptly persuade Cornelius Garrison with intent to

hinder, delay, or prevent communications by Garrison to a law enforcement officer or judge of the

United States of information relating to the commission or possible commission of a federal

offense, in violation of Title 18, United States Code, Section 1512(bX3).

C.        OVERT ACTS:

          In furtherance of the conspiracy and to accomplish its purposes, on or about September 22,

2020, JOVANNA R. GARDNER sent text messages to Garrison, portraying herself as another

person, to arrange a meeting with Garrison.

          All in violation of Title 18, United States Code, Section l5l2(k).

                                    NOTICE OF FORFEITURE

           1.    The allegations of Count I of this Superseding Bill of Information are incorporated

by reference as though set forth fully herein for the purpose of alleging forfeiture to the United

States.

          2.     As a result of the offense alleged in Count 1, the defendant, JOVANNA R.

GARDNER, shall forfeit to the United States pursuant to Title 18, United States Code, Section

981(a)(1)(C), and Title 28, United States Code, Section 2461(c), any property, real orpersonal,

which constitutes or is derived from proceeds traceable to said offenses.




                                                   2
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       3.      If any of the above-described property, as a result of any act or omission of the
defendant:

               a.      cannot be located uponthe exercise ofdue diligence;

               b.      has been transferred or sold to, or deposited with, a third person;

               c.      has been placed beyond jurisdiction of the Court;

               d.      has been substantially diminished in value; or

               e.      has been commingled with other property which cannot be

                       subdivided without diffrculty ;

the United States shall seek a money judgment and, pursuant to Title 21, United States Code,

Section 853(p), forfeiture of any other property of the defendant up to the value of said property.


                                                         MICHAEL M. SIMPSON
                                                         Attorney for the United States
                                                         Acting Under Authority Conferred
                                                         By 28 U.S.C. $ sis



                                                         MATTHEW N. FANVP
                                                         Assistant United States Attomey




                                                                 M. KLEBBA



                                                            z
                                                         Assistant United States Attomey




                                                         J. RYAN McLAREN
                                                         Trial Attorney
                                                         Criminal Division
                                                         U.S. Department of Justice

New Orleans, Louisiana
June 18,2024




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